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                              UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF MICHIGAN
                                   SOUTHERN DIVISION
                                         ______

FRANK BLUE,

                        Plaintiff,                     Case No. 1:24-cv-511
v.                                                     Honorable Sally J. Berens
UNKNOWN BAILEY et al.,

                        Defendants.
____________________________/

                              ORDER FOR PARTIAL DISMISSAL

         In accordance with the opinion filed this date:

         IT IS ORDERED that Plaintiff’s action against Defendants Bailey and Burks be

DISMISSED WITH PREJUDICE for failure to state a claim upon which relief may be granted

pursuant to 28 U.S.C. §§ 1915(e) and 1915A, and 42 U.S.C. § 1997e(c).

         IT IS FURTHER ORDERED that, Plaintiff’s official capacity claims for monetary

damages and injunctive relief and his personal capacity claims for injunctive relief against

Defendants Fatoki, Unknown Party #1 named as Nurse Dave, Unknown Party #2 named as Nurse

Karen, Hyun, Tober, Miller, Lange, and Bowman be DISMISSED WITH PREJUDICE for

failure to state a claim upon which relief may be granted pursuant to 28 U.S.C. §§ 1915(e) and

1915A, and 42 U.S.C. § 1997e(c).



Dated:     August 15, 2024                              /s/ Sally J. Berens
                                                       SALLY J. BERENS
                                                       United States Magistrate Judge
